The line run in February, 1784, by public *Page 272 
authority, is the true continental line, and no person can be permitted to dispute it; and I am inclined to think that the entry under which the defendants' claim might legally call for it before it was actually run, but of this I am not perfectly clear. It is left with the jury.
Verdict for defendants, and a new trial was granted, in order that it might be further discussed ex relatione Judge Haywood.

ORIGINAL NOTE. — Upon a second trial at May term, 1809, before CAMPBELL, J., and HUMPHREYS, J., agreeably to the directions of the Court another verdict was found for the defendants. Judge HUMPHREYS stated on this trial, in addition to what was formerly said, that to construe the entry so as to make it apply to the first line, would be directly contrary to the Acts of 1783, respecting Military and John Armstrong's lands. These acts forbid the entering of John Armstrong's claims north of the last line, we cannot therefore presume it was intended to be entered there.
NOTE. — In the errata to the original, it is said, that the north of the plat is turned down, when regularly it should have been uppermost. — ED. *Page 273 